                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                   WESTERN DIVISION
                                Case No. 5:22-CV-00068-BO

 YOLANDA IRVING, individually and as the




                                                      as
 natural parent and guardian of J.I., JUWAN




                                                      a
 HARRINGTON, CYDNEEA




                                                      oe
 HARRINGTON, KENYA WALTON,




                                                      a
 individually and as the natural parent and




                                                      O(awa
 guardian of R.W., ZTYEL WHITLEY,
 DYAMOND WHITLEY, KAMISHA
 WHITLEY,       and NANETTA      GRANT       as the
 natural parent and guardian of Z.G.,

                               Plaintiffs,                    DECLARATION     OF SERGEANT D.L.
                                                                            DAVIS
V.                                                                     (28 U.S.C. § 1746)

 THE CITY OF RALEIGH, OFFICER OMAR
 I. ABDULLAH, SERGEANT WILLIAM
 ROLFE, OFFICER RISHAR PIERRE
                                                      a




 MONROE, OFFICER JULIEN DAVID
 RATTELADE,        OFFICER MEGHAN
 CAROLINE GAY, and JOHN and JANE
 DOE OFFICERS        1-10, in their individual
                                                      eNO




 capacities,

                                 Defendants.
                                                      Nee




        Sergeant D.L. Davis, under penalty of perjury, declares and states as follows:

        l.       I am a Sergeant with the City of Raleigh’s Police Department (““RPD’’) and am

currently assigned to the Internal Affairs Division. I am over eighteen (18) years of age. The

information contained in this declaration is based on my personal knowledge.

       2.        I was   involved in an Internal Affairs        investigation and as a part of that

investigation, I obtained a case file containing a copy of the search warrant issued May 21,

2020 for 1628 Burgundy Street, Apartment B, Raleigh, North Carolina.




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      3.       Exhibit | attached to this declaration is a genuine copy of the search warrant I

found in the RPD Drug Case Investigations Case File relating to the May 21, 2020 arrest of

Marcus Vanirvin.

       I declare under penalty of perjury that the foregoing is true and correct.




               This the 2 7 day of April, 2022.



                                                    Sergeant D.L. Davis
                                                    Raleigh Police Department
                                                    Internal Affairs Division




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                      IN THE UNITED STATES DISTRJCT COURT
                  FOR THE EASTERN DISTRJCT OF NORTH CAROLINA
                               WESTERN DIVISION
                             Case No. 5:22-CV-00068-BO

 YOLANDA IRVING,individually and as the
                                      )
 natural parent and guardian ofJ.I., JUWAN
                                      )
 HARRINGTON,CYDNEEA                   )
 HARRINGTON, KENYA WALTON,            )
 individually and as the natural parent and
                                      )
 guardian ofR.W.,ZIYEL WHITLEY,       )
 DYAMOND WHITLEY, KAMISHA             )
 WHITLEY,and NANETTA GRANT as the     )
 natural parent and guardian ofZ.G.,  )
                                      )
                 Plaintiffs,          )
                                      )                    CERTIFICATE OF SERVICE
V.                                    )
                                      )
THE CITY OF RALEIGH, OFFICER OMAR )
I. ABDULLAH,SERGEANT WILLIAM          )
ROLFE,OFFICER RISHAR PIERRE           )
MONROE,OFFICER JULIEN DAYID           )
RA TTELADE,OFFICER MEGHAN             )
CAROLINE GAY,and JOHN and JANE        )
DOE OFFICERS 1-10,in their individual )
capacities,                           )
                                      )
---- -------- -- )       Defendants.

       I hereby certify that on April 29,2022,I electronically filed the foregoing

Declaration with the Clerk ofComi using the CM/ECF system, which will send

notification of such filing to all counsel of record as follows:

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Rattelade, and Gay


      Respectfully submitted,
                                       CITY OF RALEIGH
                                       Robin L. Tatum, City Attorney

                                       /s/ Dorothy V. Kibler
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